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                                   7                              UNITED STATES DISTRICT COURT
                                   8                          NORTHERN DISTRICT OF CALIFORNIA
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                                        TRI HUU HUYNH,
                                  10                                                   Case No. 22-cv-00812-RS (PR)
                                                     Plaintiff,
                                  11
                                               v.                                      ORDER REOPENING ACTION
                                  12
Northern District of California
 United States District Court




                                        C. MARTELLA, et al.,
                                  13
                                                     Defendants.
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                                  16         This action, along with several other suits filed by plaintiff, was stayed and referred
                                  17   for settlement. (Dkt. No. 11.) This action did not settle. (Dkt. No. 13.) Accordingly, the
                                  18   stay is DISSOLVED and the action is REOPENED. The Clerk shall reopen the action.
                                  19   The complaint will be reviewed in a separate order.
                                  20         IT IS SO ORDERED.
                                  21                  19 2023
                                       Dated: October ___,
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                                                                                           RICHARD SEEBORG
                                  23                                                  Chief United States District Judge
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